Filed 05/18/15                                                                    Case 15-11527                                                            Doc 19
   B6 Summary (Official Form 6 - Summary) (12/14)


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                                                                  United States Bankruptcy Court
                                                                          Eastern District of California
     In re          Walker Clifton Murrell, III,                                                                 Case No.    15-11527-A-13K
                    Alecia Marie Murrell
                                                                                                            ,
                                                                                          Debtors                Chapter                      13




                                                                      SUMMARY OF SCHEDULES
        Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
        B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
        Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
        also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




                 NAME OF SCHEDULE                          ATTACHED            NO. OF          ASSETS               LIABILITIES               OTHER
                                                            (YES/NO)           SHEETS

   A - Real Property                                              Yes            1                  273,955.00


   B - Personal Property                                          Yes            3                   20,020.00


   C - Property Claimed as Exempt                                 Yes            1


   D - Creditors Holding Secured Claims                           Yes            1                                         350,590.00


   E - Creditors Holding Unsecured                                Yes            1                                               0.00
       Priority Claims (Total of Claims on Schedule E)

   F - Creditors Holding Unsecured                                Yes            6                                          57,327.00
       Nonpriority Claims

   G - Executory Contracts and                                    Yes            1
      Unexpired Leases

   H - Codebtors                                                  Yes            1


   I - Current Income of Individual                               Yes            2                                                                    4,152.28
       Debtor(s)

   J - Current Expenditures of Individual                         Yes            2                                                                    2,378.00
       Debtor(s)

      Total Number of Sheets of ALL Schedules                                    19


                                                                           Total Assets             293,975.00


                                                                                             Total Liabilities             407,917.00




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Filed 05/18/15                                                                   Case 15-11527                                                                  Doc 19
   B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                                  United States Bankruptcy Court
                                                                          Eastern District of California
     In re           Walker Clifton Murrell, III,                                                                        Case No.   15-11527-A-13K
                     Alecia Marie Murrell
                                                                                                              ,
                                                                                           Debtors                       Chapter                     13


                  STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
             If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
             a case under chapter 7, 11 or 13, you must report all information requested below.

                      Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                      report any information here.

             This information is for statistical purposes only under 28 U.S.C. § 159.
             Summarize the following types of liabilities, as reported in the Schedules, and total them.


                 Type of Liability                                                                   Amount

                 Domestic Support Obligations (from Schedule E)                                                       0.00

                 Taxes and Certain Other Debts Owed to Governmental Units
                 (from Schedule E)
                                                                                                                      0.00

                 Claims for Death or Personal Injury While Debtor Was Intoxicated
                 (from Schedule E) (whether disputed or undisputed)
                                                                                                                      0.00

                 Student Loan Obligations (from Schedule F)                                                   36,435.00

                 Domestic Support, Separation Agreement, and Divorce Decree
                 Obligations Not Reported on Schedule E
                                                                                                                      0.00

                 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                 (from Schedule F)
                                                                                                                      0.00

                                                                                 TOTAL                        36,435.00


                 State the following:

                 Average Income (from Schedule I, Line 12)                                                        4,152.28

                 Average Expenses (from Schedule J, Line 22)                                                      2,378.00

                 Current Monthly Income (from Form 22A-1 Line 11; OR,
                 Form 22B Line 14; OR, Form 22C-1 Line 14 )                                                       5,931.07


                 State the following:
                 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                     column
                                                                                                                                           76,635.00

                 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                     column
                                                                                                                      0.00

                 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                     PRIORITY, IF ANY" column
                                                                                                                                                0.00

                 4. Total from Schedule F                                                                                                  57,327.00

                 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                             133,962.00




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Filed 05/18/15                                                            Case 15-11527                                                                    Doc 19
   B6A (Official Form 6A) (12/07)


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     In re         Walker Clifton Murrell, III,                                                               Case No.    15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                  ,
                                                                                    Debtors
                                                                 SCHEDULE A - REAL PROPERTY
          Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
  cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
  the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
  "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
  "Description and Location of Property."
          Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
  Unexpired Leases.
          If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
  claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
  if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                  Husband,    Current Value of
                                                                          Nature of Debtor's       Wife,     Debtor's Interest in             Amount of
                   Description and Location of Property                   Interest in Property     Joint, or  Property, without              Secured Claim
                                                                                                 Community Deducting  any Secured
                                                                                                             Claim or Exemption

  Residence at 2128 Jason St., Bakersfield CA 93312                       Fee simple                  C                  273,955.00                 350,590.00




                                                                                                   Sub-Total >           273,955.00          (Total of this page)

                                                                                                          Total >        273,955.00
     0     continuation sheets attached to the Schedule of Real Property
                                                                                                   (Report also on Summary of Schedules)
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Filed 05/18/15                                                                Case 15-11527                                                                       Doc 19
   B6B (Official Form 6B) (12/07)


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     In re         Walker Clifton Murrell, III,                                                                      Case No.     15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                         ,
                                                                                        Debtors
                                                           SCHEDULE B - PERSONAL PROPERTY
      Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
  an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
  with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
  own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
  petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
      Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
  Unexpired Leases.
  If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
  If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
  "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                              Husband,        Current Value of
                   Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                               Joint, or   without Deducting any
                                                             E                                                             Community Secured Claim or Exemption

   1.    Cash on hand                                        X

   2.    Checking, savings or other financial                    Wells Fargo, Bakersfield, CA - Checking & Savings              C                        2,000.00
         accounts, certificates of deposit, or
         shares in banks, savings and loan,
         thrift, building and loan, and
         homestead associations, or credit
         unions, brokerage houses, or
         cooperatives.

   3.    Security deposits with public                       X
         utilities, telephone companies,
         landlords, and others.

   4.    Household goods and furnishings,                        Household goods and furnishings                                C                        5,000.00
         including audio, video, and
         computer equipment.

   5.    Books, pictures and other art                       X
         objects, antiques, stamp, coin,
         record, tape, compact disc, and
         other collections or collectibles.

   6.    Wearing apparel.                                        Wearing apparel                                                C                           200.00

   7.    Furs and jewelry.                                       Jewelry                                                        C                           500.00

   8.    Firearms and sports, photographic,                  X
         and other hobby equipment.

   9.    Interests in insurance policies.                        Term Life Insurance                                            C                              0.00
         Name insurance company of each
         policy and itemize surrender or
         refund value of each.

   10. Annuities. Itemize and name each                      X
       issuer.




                                                                                                                                Sub-Total >            7,700.00
                                                                                                                    (Total of this page)

     2     continuation sheets attached to the Schedule of Personal Property

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Filed 05/18/15                                                                Case 15-11527                                                                       Doc 19
   B6B (Official Form 6B) (12/07) - Cont.




     In re         Walker Clifton Murrell, III,                                                                      Case No.     15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                         ,
                                                                                        Debtors
                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                               (Continuation Sheet)

                                                             N                                                              Husband,        Current Value of
                   Type of Property                          O               Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                               Joint, or   without Deducting any
                                                             E                                                             Community Secured Claim or Exemption

   11. Interests in an education IRA as                      X
       defined in 26 U.S.C. § 530(b)(1) or
       under a qualified State tuition plan
       as defined in 26 U.S.C. § 529(b)(1).
       Give particulars. (File separately the
       record(s) of any such interest(s).
       11 U.S.C. § 521(c).)

   12. Interests in IRA, ERISA, Keogh, or                        401 K                                                          C                      10,000.00
       other pension or profit sharing
       plans. Give particulars.

   13. Stock and interests in incorporated                   X
       and unincorporated businesses.
       Itemize.

   14. Interests in partnerships or joint                    X
       ventures. Itemize.

   15. Government and corporate bonds                        X
       and other negotiable and
       nonnegotiable instruments.

   16. Accounts receivable.                                  X

   17. Alimony, maintenance, support, and                    X
       property settlements to which the
       debtor is or may be entitled. Give
       particulars.

   18. Other liquidated debts owed to debtor                     Earnings and 2015 tax refunds                                  C                              0.00
       including tax refunds. Give particulars.


   19. Equitable or future interests, life                   X
       estates, and rights or powers
       exercisable for the benefit of the
       debtor other than those listed in
       Schedule A - Real Property.

   20. Contingent and noncontingent                          X
       interests in estate of a decedent,
       death benefit plan, life insurance
       policy, or trust.

   21. Other contingent and unliquidated                     X
       claims of every nature, including
       tax refunds, counterclaims of the
       debtor, and rights to setoff claims.
       Give estimated value of each.


                                                                                                                                Sub-Total >          10,000.00
                                                                                                                    (Total of this page)

  Sheet 1 of 2          continuation sheets attached
  to the Schedule of Personal Property

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Filed 05/18/15                                                                 Case 15-11527                                                                       Doc 19
   B6B (Official Form 6B) (12/07) - Cont.




     In re         Walker Clifton Murrell, III,                                                                       Case No.     15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                          ,
                                                                                         Debtors
                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                (Continuation Sheet)

                                                             N                                                               Husband,        Current Value of
                   Type of Property                          O                Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                Joint, or   without Deducting any
                                                             E                                                              Community Secured Claim or Exemption

   22. Patents, copyrights, and other                        X
       intellectual property. Give
       particulars.

   23. Licenses, franchises, and other                       X
       general intangibles. Give
       particulars.

   24. Customer lists or other compilations                  X
       containing personally identifiable
       information (as defined in 11 U.S.C.
       § 101(41A)) provided to the debtor
       by individuals in connection with
       obtaining a product or service from
       the debtor primarily for personal,
       family, or household purposes.

   25. Automobiles, trucks, trailers, and                        2001 Ford Expedition Sport Utility 4D - 200,000                  C                       2,320.00
       other vehicles and accessories.                           miles

   26. Boats, motors, and accessories.                       X

   27. Aircraft and accessories.                             X

   28. Office equipment, furnishings, and                    X
       supplies.

   29. Machinery, fixtures, equipment, and                   X
       supplies used in business.

   30. Inventory.                                            X

   31. Animals.                                                  1 dog                                                            C                             0.00

   32. Crops - growing or harvested. Give                    X
       particulars.

   33. Farming equipment and                                 X
       implements.

   34. Farm supplies, chemicals, and feed.                   X

   35. Other personal property of any kind                   X
       not already listed. Itemize.




                                                                                                                                 Sub-Total >            2,320.00
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                                                                                                                                      Total >         20,020.00
  Sheet 2 of 2          continuation sheets attached
  to the Schedule of Personal Property                                                                                           (Report also on Summary of Schedules)
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Filed 05/18/15                                                                Case 15-11527                                                                                    Doc 19
   B6C (Official Form 6C) (4/13)


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     In re         Walker Clifton Murrell, III,                                                                         Case No.        15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                            ,
                                                                                        Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
   Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
   (Check one box)                                                                                 $155,675. (Amount subject to adjustment on 4/1/16, and every three years thereafter
      11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
      11 U.S.C. §522(b)(3)

                                                                                Specify Law Providing                          Value of                 Current Value of
                     Description of Property                                       Each Exemption                              Claimed                  Property Without
                                                                                                                              Exemption               Deducting Exemption
  Real Property
  Residence at 2128 Jason St., Bakersfield CA                             C.C.P. § 703.140(b)(5)                                            1.00                   273,955.00
  93312

  Checking, Savings, or Other Financial Accounts, Certificates of Deposit
  Wells Fargo, Bakersfield, CA - Checking &         C.C.P. § 703.140(b)(5)                                                            2,000.00                         2,000.00
  Savings

  Household Goods and Furnishings
  Household goods and furnishings                                         C.C.P. § 703.140(b)(3)                                      5,000.00                         5,000.00

  Wearing Apparel
  Wearing apparel                                                         C.C.P. § 703.140(b)(3)                                        200.00                            200.00

  Furs and Jewelry
  Jewelry                                                                 C.C.P. § 703.140(b)(4)                                        500.00                            500.00

  Interests in Insurance Policies
  Term Life Insurance                                                     C.C.P. § 703.140(b)(7)                                            0.00                             0.00

  Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
  401 K                                               C.C.P. § 703.140(b)(10)(E)                                                    10,000.00                        10,000.00

  Other Liquidated Debts Owing Debtor Including Tax Refund
  Earnings and 2015 tax refunds                    C.C.P. § 703.140(b)(5)                                                           24,924.00                                0.00

  Automobiles, Trucks, Trailers, and Other Vehicles
  2001 Ford Expedition Sport Utility 4D - 200,000                         C.C.P. § 703.140(b)(2)                                      2,320.00                         2,320.00
  miles

  Animals
  1 dog                                                                   C.C.P. § 703.140(b)(5)                                            0.00                             0.00




                                                                                                            Total:                  44,945.00                       293,975.00
      0      continuation sheets attached to Schedule of Property Claimed as Exempt
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Filed 05/18/15                                                                        Case 15-11527                                                                         Doc 19
   B6D (Official Form 6D) (12/07)


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     In re         Walker Clifton Murrell, III,                                                                                 Case No.    15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                                   ,
                                                                                                    Debtors
                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

         State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
   the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
   if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
   other security interests.
         List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
   guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
   creditors will not fit on this page, use the continuation sheet provided.
         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
   schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
   liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
         If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
   claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
         Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
   sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
   primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                               C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
                CREDITOR'S NAME                                O                                                            O    N   I
                                                               D   H        DATE CLAIM WAS INCURRED,                        N    L   S        CLAIM
             AND MAILING ADDRESS                               E                                                            T    I   P       WITHOUT           UNSECURED
              INCLUDING ZIP CODE,                              B   W           NATURE OF LIEN, AND                          I    Q   U                         PORTION, IF
                                                               T   J         DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                            DEDUCTING
             AND ACCOUNT NUMBER                                O                                                            G    I   E       VALUE OF             ANY
               (See instructions above.)
                                                                   C                OF PROPERTY
                                                               R
                                                                                  SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
  Account No. xxxxxxxxx4983                                            Opened 12/05/07 Last Active 4/28/14                       E
                                                                                                                                 D

  OneWest Bank                                                         Deed of Trust
  Attn:Bankruptcy Department
  2900 Esperanza Crossing                                            Residence at 2128 Jason St., Bakersfield
                                                                   H CA 93312
  Austin, TX 78758

                                                                          Value $                         273,955.00                         350,590.00              76,635.00
  Account No.




                                                                          Value $
  Account No.




                                                                          Value $
  Account No.




                                                                          Value $
                                                                                                                         Subtotal
   0
  _____ continuation sheets attached                                                                                                         350,590.00              76,635.00
                                                                                                                (Total of this page)
                                                                                                                            Total            350,590.00              76,635.00
                                                                                                  (Report on Summary of Schedules)

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Filed 05/18/15                                                                       Case 15-11527                                                                                    Doc 19
   B6E (Official Form 6E) (4/13)


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     In re         Walker Clifton Murrell, III,                                                                                       Case No.            15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                                         ,
                                                                                                   Debtors
                       SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
              A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
        to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
        account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
        continuation sheet for each type of priority and label each with the type of priority.
              The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
        so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
        Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
        schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
        liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
        column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
        "Disputed." (You may need to place an "X" in more than one of these three columns.)
              Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
        "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
              Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
        listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
        also on the Statistical Summary of Certain Liabilities and Related Data.
              Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
        priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
        total also on the Statistical Summary of Certain Liabilities and Related Data.

             Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

        TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
             Domestic support obligations
            Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
        of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

             Extensions of credit in an involuntary case
            Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
        trustee or the order for relief. 11 U.S.C. § 507(a)(3).

             Wages, salaries, and commissions
            Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
        representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
        occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

             Contributions to employee benefit plans
           Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
        whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

             Certain farmers and fishermen
             Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

             Deposits by individuals
            Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
        delivered or provided. 11 U.S.C. § 507(a)(7).

             Taxes and certain other debts owed to governmental units
             Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

             Commitments to maintain the capital of an insured depository institution
           Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
        Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

             Claims for death or personal injury while debtor was intoxicated
           Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
        another substance. 11 U.S.C. § 507(a)(10).




        * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0         continuation sheets attached
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Filed 05/18/15                                                                      Case 15-11527                                                                             Doc 19
   B6F (Official Form 6F) (12/07)


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     In re         Walker Clifton Murrell, III,                                                                            Case No.       15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                                   ,
                                                                                                 Debtors

                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
   debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
   trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
   parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
   include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
         If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
   schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
   liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
   claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
         Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
   Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


         Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                          C   Husband, Wife, Joint, or Community                              C   U   D
                     CREDITOR'S NAME,                                     O                                                                   O   N   I
                     MAILING ADDRESS                                      D   H                                                               N   L   S
                   INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                              W
                  AND ACCOUNT NUMBER
                                                                          B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
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                                                                          T   J                                                               N   U   T
                                                                          O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                    (See instructions above.)                             R
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  Account No. xx0602                                                              Opened 9/01/14                                              T   T
                                                                                                                                                  E
                                                                                  Collection Attorney San Dimas Medical Group                     D

  Acclaim Credit Tech                                                             Inc
  Po Box 3028                                                                 W
  Visalia, CA 93277

                                                                                                                                                                           188.00
  Account No. xx4256                                                              Opened 7/01/13
                                                                                  Collection Attorney Kern Radiology Medical
  Acclaim Credit Tech                                                             Group
  Po Box 3028                                                                 W
  Visalia, CA 93277

                                                                                                                                                                             86.00
  Account No. xx5621                                                              Opened 8/01/10
                                                                                  Collection Attorney Hsbc Retail Services
  Atg Credit
  1700 W Cortland St Ste 2                                                    H
  Chicago, IL 60622

                                                                                                                                                                         2,228.00
  Account No. xx2792                                                              Opened 7/01/10
                                                                                  Collection Attorney Hsbc Tier 2 - Hsbc Bank
  Atg Credit                                                                      Na
  1700 W Cortland St Ste 2                                                    W
  Chicago, IL 60622

                                                                                                                                                                           812.00

                                                                                                                                          Subtotal
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  _____ continuation sheets attached                                                                                                                                     3,314.00
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     In re         Walker Clifton Murrell, III,                                                                        Case No.   15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                                   ,
                                                                                                 Debtors
                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




                                                                          C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                     O                                                           O   N   I
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                   INCLUDING ZIP CODE,
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                    (See instructions above.)                             R                                                           E   D   D
                                                                                                                                      N   A
                                                                                                                                      T   T
  Account No. xxxxxxxxxxxx6872                                                    Opened 2/02/08 Last Active 10/10/09                     E
                                                                                  Charge Account                                          D

  Cap1/bstby
  1405 Foulk Road                                                             H
  Wilmington, DE 19808

                                                                                                                                                              2,228.00
  Account No. xxxxxxxxxxxx6301                                                    Opened 10/01/07 Last Active 9/08/09
                                                                                  Charge Account
  Citibank/The Home Depot
  Citicorp Credit Srvs/Centralized                                            W
  Bankrup
  Po Box 790040
  Saint Louis, MO 63179                                                                                                                                         701.00
  Account No. xxxxxxxxxxxx3647                                                    Opened 8/01/13
                                                                                  Collection Attorney Truxtun Radiology Medical
  Continental Credit Ctr                                                          Grp
  Po Box 30348                                                                W
  Santa Barbara, CA 93103

                                                                                                                                                                272.00
  Account No. xxxxxxxxxxxx0003                                                    Opened 9/01/08 Last Active 3/31/15
                                                                                  Educational
  Fed Loan Serv
  Po Box 60610                                                                W
  Harrisburg, PA 17106

                                                                                                                                                              8,834.00
  Account No. xxxxxxxxxxxx0004                                                    Opened 9/01/09 Last Active 3/31/15
                                                                                  Educational
  Fed Loan Serv
  Po Box 60610                                                                W
  Harrisburg, PA 17106

                                                                                                                                                              8,313.00

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  Sheet no. _____     5
                  of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                            20,348.00
  Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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     In re         Walker Clifton Murrell, III,                                                                        Case No.   15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                                   ,
                                                                                                 Debtors
                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




                                                                          C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                     O                                                           O   N   I
                     MAILING ADDRESS                                      D   H                                                       N   L   S
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                    (See instructions above.)                             R                                                           E   D   D
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  Account No. xxxxxxxxxxxx0006                                                    Opened 11/01/13 Last Active 3/31/15                     E
                                                                                  Educational                                             D

  Fed Loan Serv
  Po Box 60610                                                                W
  Harrisburg, PA 17106

                                                                                                                                                              6,207.00
  Account No. xxxxxxxxxxxx0002                                                    Opened 9/01/09 Last Active 3/31/15
                                                                                  Educational
  Fed Loan Serv
  Po Box 60610                                                                W
  Harrisburg, PA 17106

                                                                                                                                                              5,324.00
  Account No. xxxxxxxxxxxx0001                                                    Opened 9/01/08 Last Active 3/31/15
                                                                                  Educational
  Fed Loan Serv
  Po Box 60610                                                                W
  Harrisburg, PA 17106

                                                                                                                                                              4,189.00
  Account No. xxxxxxxxxxxx0005                                                    Opened 11/01/13 Last Active 3/31/15
                                                                                  Educational
  Fed Loan Serv
  Po Box 60610                                                                W
  Harrisburg, PA 17106

                                                                                                                                                              3,568.00
  Account No. xxx0700                                                             Opened 4/01/09
                                                                                  Collection Attorney Kern Emergency
  Financial Credit Netwo                                                          Physicians
  1300 W Main St                                                              W
  Visalia, CA 93291

                                                                                                                                                                230.00

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  Sheet no. _____     5
                  of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                            19,518.00
  Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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     In re         Walker Clifton Murrell, III,                                                                        Case No.   15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                                   ,
                                                                                                 Debtors
                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




                                                                          C   Husband, Wife, Joint, or Community                      C   U   D
                     CREDITOR'S NAME,                                     O                                                           O   N   I
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  Account No. xxxxx7138                                                           Opened 2/01/11                                          E
                                                                                  Collection Attorney Mercy Hospital Bakersfield          D

  Grant & Weber
  Attn: Bankruptcy                                                            H
  26575 W Agoura Rd
  Calabasas, CA 91302
                                                                                                                                                              1,391.00
  Account No. xxxxx1056                                                           Opened 7/01/13
                                                                                  Collection Attorney Mercy Hospital Bakersfield
  Grant & Weber
  Attn: Bankruptcy                                                            W
  26575 W Agoura Rd
  Calabasas, CA 91302
                                                                                                                                                              1,345.00
  Account No. xxxxxx3754                                                          Opened 4/01/13
                                                                                  Collection Attorney Buena Vista Emergency
  Herbert P Sears Co                                                              Medical
  Pob 2307                                                                    W
  Bakersfield, CA 93303

                                                                                                                                                                641.00
  Account No. xxxxxx2303                                                          Opened 3/01/13
                                                                                  Collection Attorney Buena Vista Emergency
  Herbert P Sears Co                                                              Medical
  Pob 2307                                                                    W
  Bakersfield, CA 93303

                                                                                                                                                                428.00
  Account No. xxxxxx0380                                                          Opened 2/01/13
                                                                                  Collection Attorney Central Calif Emerg Med
  Herbert P Sears Co                                                              Phy
  Pob 2307                                                                    C
  Bakersfield, CA 93303

                                                                                                                                                                380.00

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  Sheet no. _____     5
                  of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                              4,185.00
  Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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     In re         Walker Clifton Murrell, III,                                                                        Case No.   15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                                   ,
                                                                                                 Debtors
                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




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  Account No. xxxxxx1092                                                          Opened 5/01/12                                          E
                                                                                  Factoring Company Account Ge Money Bank                 D

  Midland Funding
  8875 Aero Dr Ste 200                                                        H
  San Diego, CA 92123

                                                                                                                                                              3,932.00
  Account No. xxxxxx3847                                                          Opened 12/01/11
                                                                                  Factoring Company Account Hsbc Bank
  Midland Funding                                                                 Nevada N.A.
  8875 Aero Dr Ste 200                                                        H
  San Diego, CA 92123

                                                                                                                                                              1,050.00
  Account No. xxxxxx3820                                                          Opened 4/01/11
                                                                                  Factoring Company Account Citibank Usa
  Midland Funding                                                                 N.A.
  8875 Aero Dr Ste 200                                                        W
  San Diego, CA 92123

                                                                                                                                                                988.00
  Account No. xxxxxx7903                                                          Opened 11/01/13
                                                                                  Factoring Company Account Ge Money Bank
  Midland Funding
  8875 Aero Dr Ste 200                                                        H
  San Diego, CA 92123

                                                                                                                                                                974.00
  Account No. xxxxxx7333                                                          Opened 11/01/11
                                                                                  Factoring Company Account Target National
  Midland Funding                                                                 Bank
  8875 Aero Dr Ste 200                                                        W
  San Diego, CA 92123

                                                                                                                                                                516.00

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                  of _____ sheets attached to Schedule of                                                                           Subtotal
                                                                                                                                                              7,460.00
  Creditors Holding Unsecured Nonpriority Claims                                                                          (Total of this page)




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     In re         Walker Clifton Murrell, III,                                                                              Case No.    15-11527-A-13K
                   Alecia Marie Murrell
                                                                                                                    ,
                                                                                                 Debtors
                  SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     (Continuation Sheet)




                                                                          C   Husband, Wife, Joint, or Community                             C   U   D
                     CREDITOR'S NAME,                                     O                                                                  O   N   I
                     MAILING ADDRESS                                      D   H                                                              N   L   S
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                    (See instructions above.)                             R                                                                  E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
  Account No. xxxxxxxxxxxx1909                                                    Opened 6/01/10                                                 E
                                                                                  Factoring Company Account Capital One Bank                     D

  Portfolio Recovery                                                              Usa Na
  Attn: Bankruptcy                                                            H
  Po Box 41067
  Norfolk, VA 23541
                                                                                                                                                                       997.00
  Account No. xxxxxxxxxxxx7177                                                    Opened 12/01/10
                                                                                  Factoring Company Account Hsbc Bank
  Portfolio Recovery                                                              Nevada N.A.
  Attn: Bankruptcy                                                            W
  Po Box 41067
  Norfolk, VA 23541
                                                                                                                                                                       669.00
  Account No. xxxxxxxxxxxx0591                                                    Opened 12/01/13
                                                                                  Factoring Company Account World Financial
  Portfolio Recovery                                                              Capital Bank
  Attn: Bankruptcy                                                            H
  Po Box 41067
  Norfolk, VA 23541
                                                                                                                                                                       268.00
  Account No. xxxxx5172                                                           Opened 3/01/12
                                                                                  Factoring Company Account World Financial
  Portfolio Recovery                                                              Network Bank
  Attn: Bankruptcy                                                            W
  Po Box 41067
  Norfolk, VA 23541
                                                                                                                                                                       203.00
  Account No. xxxxxxxxxxxx1638                                                    Opened 4/01/06 Last Active 10/07/09
                                                                                  Charge Account
  Syncb/qvc
  Po Box 965018                                                               H
  Orlando, FL 32896

                                                                                                                                                                       365.00

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                  of _____ sheets attached to Schedule of                                                                                  Subtotal
                                                                                                                                                                     2,502.00
  Creditors Holding Unsecured Nonpriority Claims                                                                                 (Total of this page)
                                                                                                                                             Total
                                                                                                                   (Report on Summary of Schedules)                57,327.00


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Filed 05/18/15                                                              Case 15-11527                                                                         Doc 19
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     In re             Walker Clifton Murrell, III,                                                                Case No.      15-11527-A-13K
                       Alecia Marie Murrell
                                                                                                         ,
                                                                                       Debtors
                            SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                  Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
                  of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
                  complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
                  state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
                  disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                     Check this box if debtor has no executory contracts or unexpired leases.
                                                                                         Description of Contract or Lease and Nature of Debtor's Interest.
                      Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                          of Other Parties to Lease or Contract                                 State contract number of any government contract.




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                    continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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Filed 05/18/15                                                            Case 15-11527                                                                   Doc 19
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     In re          Walker Clifton Murrell, III,                                                            Case No.     15-11527-A-13K
                    Alecia Marie Murrell
                                                                                                  ,
                                                                                Debtors
                                                                     SCHEDULE H - CODEBTORS
            Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
        by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
        commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
        Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
        any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
        by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
        state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
        disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
            Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                    NAME AND ADDRESS OF CREDITOR




          0
                  continuation sheets attached to Schedule of Codebtors
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Filed 05/18/15                                                         Case 15-11527                                                                        Doc 19



     Fill in this information to identify your case:

     Debtor 1                      Walker Clifton Murrell, III

     Debtor 2                      Alecia Marie Murrell
     (Spouse, if filing)


     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number               15-11527-A-13K                                                                 Check if this is:
     (If known)
                                                                                                                  An amended filing
                                                                                                                  A supplement showing post-petition chapter
                                                                                                                  13 income as of the following date:

     Official Form B 6I                                                                                           MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                            12/13
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

            If you have more than one job,                                   Employed                                      Employed
            attach a separate page with           Employment status
            information about additional                                     Not employed                                Not employed
            employers.
                                                  Occupation            Energy Efficency Manager                     Tax Preparer
            Include part-time, seasonal, or
            self-employed work.                   Employer's name       Staples Energy                               Self Employed

            Occupation may include student        Employer's address
            or homemaker, if it applies.                                3439 Landco Dr.
                                                                        Bakersfield, CA 93308

                                                  How long employed there?         6 years

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                            For Debtor 1          For Debtor 2 or
                                                                                                                                  non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.        2.       $        5,745.24         $            0.00

     3.     Estimate and list monthly overtime pay.                                            3.      +$              0.00       +$           0.00

     4.     Calculate gross Income. Add line 2 + line 3.                                       4.       $      5,745.24               $      0.00




    Official Form B 6I                                                       Schedule I: Your Income                                                  page 1
Filed 05/18/15                                                       Case 15-11527                                                                           Doc 19


     Debtor 1   Walker Clifton Murrell, III
     Debtor 2   Alecia Marie Murrell                                                                  Case number (if known)   15-11527-A-13K


                                                                                                       For Debtor 1            For Debtor 2 or
                                                                                                                               non-filing spouse
          Copy line 4 here                                                                     4.      $         5,745.24      $             0.00

     5.   List all payroll deductions:
          5a.    Tax, Medicare, and Social Security deductions                                 5a.     $         1,078.83      $               0.00
          5b.    Mandatory contributions for retirement plans                                  5b.     $             0.00      $               0.00
          5c.    Voluntary contributions for retirement plans                                  5c.     $             0.00      $               0.00
          5d.    Required repayments of retirement fund loans                                  5d.     $             0.00      $               0.00
          5e.    Insurance                                                                     5e.     $           514.13      $               0.00
          5f.    Domestic support obligations                                                  5f.     $             0.00      $               0.00
          5g.    Union dues                                                                    5g.     $             0.00      $               0.00
          5h.    Other deductions. Specify:                                                    5h.+    $             0.00 +    $               0.00
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,592.96      $               0.00
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,152.28      $               0.00
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.     $              0.00     $               0.00
          8b. Interest and dividends                                                           8b.     $              0.00     $               0.00
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.     $              0.00     $               0.00
          8d. Unemployment compensation                                                        8d.     $              0.00     $               0.00
          8e. Social Security                                                                  8e.     $              0.00     $               0.00
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                 0.00   $                 0.00
          8g. Pension or retirement income                                                     8g. $                  0.00   $                 0.00
          8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 0.00

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $               0.00     $                0.00

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $           4,152.28 + $             0.00 = $           4,152.28
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                 11. +$                  0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                     12.   $           4,152.28
                                                                                                                                           Combined
                                                                                                                                           monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
                  No.
                  Yes. Explain:




    Official Form B 6I                                                     Schedule I: Your Income                                                      page 2
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      Fill in this information to identify your case:

      Debtor 1                Walker Clifton Murrell, III                                                         Check if this is:
                                                                                                                      An amended filing
      Debtor 2                Alecia Marie Murrell                                                                    A supplement showing post-petition chapter
      (Spouse, if filing)                                                                                             13 expenses as of the following date:

      United States Bankruptcy Court for the:    EASTERN DISTRICT OF CALIFORNIA                                            MM / DD / YYYY

      Case number           15-11527-A-13K                                                                                 A separate filing for Debtor 2 because Debtor
      (If known)                                                                                                           2 maintains a separate household



      Official Form B 6J
      Schedule J: Your Expenses                                                                                                            12/13
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                  No. Go to line 2.
                   Yes. Does Debtor 2 live in a separate household?

                             No
                             Yes. Debtor 2 must file a separate Schedule J.

      2.    Do you have dependents?                No

            Do not list Debtor 1                         Fill out this information for   Dependent’s relationship to          Dependent’s        Does dependent
            and Debtor 2.                       Yes.     each dependent..............    Debtor 1 or Debtor 2                 age                live with you?

            Do not state the                                                                                                                         No
            dependents' names.                                                           Son                                  11                      Yes
                                                                                                                                                     No
                                                                                         Son                                  16                      Yes
                                                                                                                                                     No
                                                                                         Daughter                             19                      Yes
                                                                                                                                                     No
                                                                                                                                                     Yes
      3.    Do your expenses include
                                                          No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 6I.)                                                                                                          Your expenses

      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                                  0.00

            If not included in line 4:

            4a. Real estate taxes                                                                                4a.   $                                0.00
            4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                                0.00
            4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                                0.00
            4d. Homeowner’s association or condominium dues                                                      4d.   $                                0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                                0.00


      Official Form B 6J                                                   Schedule J: Your Expenses                                                   page 1
Filed 05/18/15                                                              Case 15-11527                                                                               Doc 19


      Debtor 1     Walker Clifton Murrell, III
      Debtor 2     Alecia Marie Murrell                                                                       Case number (if known)       15-11527-A-13K

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                    6a. $                                                    260.00
            6b. Water, sewer, garbage collection                                                  6b. $                                                     80.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    350.00
            6d. Other. Specify:                                                                   6d. $                                                      0.00
      7.    Food and housekeeping supplies                                                          7. $                                                   600.00
      8.    Childcare and children’s education costs                                                8. $                                                    50.00
      9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   200.00
      10.   Personal care products and services                                                   10. $                                                    200.00
      11.   Medical and dental expenses                                                           11. $                                                    100.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                          12. $                                                    200.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                     50.00
      14.   Charitable contributions and religious donations                                      14. $                                                     30.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                     78.00
            15b. Health insurance                                                                15b. $                                                      0.00
            15c. Vehicle insurance                                                               15c. $                                                    180.00
            15d. Other insurance. Specify:                                                       15d. $                                                      0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                              16. $                                                       0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
            17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
            17c. Other. Specify:                                                                 17c. $                                                       0.00
            17d. Other. Specify:                                                                 17d. $                                                       0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 6I).         18. $                                                       0.00
      19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
            Specify:                                                                              19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                       0.00
            20b. Real estate taxes                                                               20b. $                                                       0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
      21.   Other: Specify:                                                                       21. +$                                                      0.00
      22. Your monthly expenses. Add lines 4 through 21.                                                            22.      $                       2,378.00
          The result is your monthly expenses.
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               4,152.28
          23b. Copy your monthly expenses from line 22 above.                                                      23b. -$                              2,378.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                            23c. $                               1,774.28

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
                 No.
                Yes.
            Explain:




      Official Form B 6J                                                   Schedule J: Your Expenses                                                        page 2
Filed 05/18/15                                                                Case 15-11527                                                               Doc 19


                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
                Walker Clifton Murrell, III
     In re      Alecia Marie Murrell                                                                                 Case No.   15-11527-A-13K
                                                                                      Debtor(s)                      Chapter    13


                                                       BUSINESS INCOME AND EXPENSES
             FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
    PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
              1. Gross Income For 12 Months Prior to Filing:                                                     $               0.00
    PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
              2. Gross Monthly Income                                                                                               $               127.08
    PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
              3. Net Employee Payroll (Other Than Debtor)                                                        $               0.00
              4. Payroll Taxes                                                                                                   0.00
              5. Unemployment Taxes                                                                                              0.00
              6. Worker's Compensation                                                                                           0.00
              7. Other Taxes                                                                                                     0.00
              8. Inventory Purchases (Including raw materials)                                                                   0.00
              9. Purchase of Feed/Fertilizer/Seed/Spray                                                                          0.00
              10. Rent (Other than debtor's principal residence)                                                                 0.00
              11. Utilities                                                                                                      0.00
              12. Office Expenses and Supplies                                                                                  43.47
              13. Repairs and Maintenance                                                                                        0.00
              14. Vehicle Expenses                                                                                               0.00
              15. Travel and Entertainment                                                                                       0.00
              16. Equipment Rental and Leases                                                                                    0.00
              17. Legal/Accounting/Other Professional Fees                                                                      66.94
              18. Insurance                                                                                                      0.00
              19. Employee Benefits (e.g., pension, medical, etc.)                                                               0.00
              20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                      DESCRIPTION                                                                     TOTAL

              21. Other (Specify):

                      DESCRIPTION                                                                     TOTAL
                      Charitable Contribution                                                         16.67

              22. Total Monthly Expenses (Add items 3-21)                                                                           $               127.08
    PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
              23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                         $                   0.00




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    B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
                Walker Clifton Murrell, III
     In re      Alecia Marie Murrell                                                                               Case No.   15-11527-A-13K
                                                                                        Debtor(s)                  Chapter    13




                                          DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                         I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                21
                sheets, and that they are true and correct to the best of my knowledge, information, and belief.




     Date May 15, 2015                                                      Signature   /s/ Walker Clifton Murrell, III
                                                                                        Walker Clifton Murrell, III
                                                                                        Debtor


     Date May 15, 2015                                                      Signature   /s/ Alecia Marie Murrell
                                                                                        Alecia Marie Murrell
                                                                                        Joint Debtor

        Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                         18 U.S.C. §§ 152 and 3571.




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    B7 (Official Form 7) (04/13)



                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
                 Walker Clifton Murrell, III
     In re       Alecia Marie Murrell                                                                              Case No.       15-11527-A-13K
                                                                                      Debtor(s)                    Chapter        13

                                                           STATEMENT OF FINANCIAL AFFAIRS

               This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
    both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
    not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
    proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
    activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
    name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
    U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

              Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
    Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
    to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                     DEFINITIONS

              "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
    business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
    the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
    other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
    for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
    debtor's primary employment.

               "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
    corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and
    their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(2), (31).


                   1. Income from employment or operation of business

        None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
                   business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
                   year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
                   calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                   report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
                   each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
                   petition is filed, unless the spouses are separated and a joint petition is not filed.)

                              AMOUNT                                SOURCE
                              $22,103.96                            2015 YTD: Husband Staples Energy
                              $63,612.22                            2014: Husband Staples Energy
                              $58,878.00                            2013: Husband Staples Energy
                              $1,525.00                             2015 YTD: Wife Self-Employment Income
                              $1,525.00                             2014: Wife Self-Employment Income




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    B7 (Official Form 7) (04/13)
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                   2. Income other than from employment or operation of business

          None     State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
                   during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
                   each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
                   petition is filed, unless the spouses are separated and a joint petition is not filed.)

                             AMOUNT                                 SOURCE
                             $6,414.00                              2013: Wife Unemployment Income

                   3. Payments to creditors

          None     Complete a. or b., as appropriate, and c.

                   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
                   services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the
                   aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any
                   payments that were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
                   a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must
                   include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
                   not filed.)

     NAME AND ADDRESS                                                       DATES OF                                                        AMOUNT STILL
        OF CREDITOR                                                         PAYMENTS                              AMOUNT PAID                 OWING

          None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
                   immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
                   transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
                   account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
                   budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
                   transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                   filed.)

                                                                                                                       AMOUNT
                                                                            DATES OF                                    PAID OR
                                                                            PAYMENTS/                                 VALUE OF              AMOUNT STILL
     NAME AND ADDRESS OF CREDITOR                                           TRANSFERS                                TRANSFERS                OWING

          None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
                   creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
          RELATIONSHIP TO DEBTOR                                            DATE OF PAYMENT                       AMOUNT PAID                 OWING

                   4. Suits and administrative proceedings, executions, garnishments and attachments

          None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
                   this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
                   whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     CAPTION OF SUIT                                                      NATURE OF         COURT OR AGENCY                                   STATUS OR
     AND CASE NUMBER                                                      PROCEEDING        AND LOCATION                                      DISPOSITION

          None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
                   preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                   property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                   filed.)

     NAME AND ADDRESS OF PERSON FOR WHOSE                                                        DESCRIPTION AND VALUE OF
        BENEFIT PROPERTY WAS SEIZED                                       DATE OF SEIZURE               PROPERTY

      *   Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

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                   5. Repossessions, foreclosures and returns

        None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
                   returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
                   or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
                   spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
     NAME AND ADDRESS OF                                                     FORECLOSURE SALE,           DESCRIPTION AND VALUE OF
      CREDITOR OR SELLER                                                    TRANSFER OR RETURN                    PROPERTY
     IndyMac Bank/OneWest Bank                                           Trustee's Sale Date April 21,   Residence at 2128 Jason St., Bakersfield CA
     2900 Esperanza Crossing                                             2015                            93312
     Austin, TX 78758                                                                                    $273,955.00

                   6. Assignments and receiverships

        None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
                   this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
                   joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATE OF
     NAME AND ADDRESS OF ASSIGNEE                                        ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

        None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
                   preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                   property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                   filed.)

                                                                   NAME AND LOCATION
     NAME AND ADDRESS                                                   OF COURT                          DATE OF        DESCRIPTION AND VALUE OF
       OF CUSTODIAN                                                CASE TITLE & NUMBER                    ORDER                PROPERTY

                   7. Gifts

        None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
                   and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
                   aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
                   either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS OF                                         RELATIONSHIP TO                                         DESCRIPTION AND
     PERSON OR ORGANIZATION                                         DEBTOR, IF ANY                       DATE OF GIFT       VALUE OF GIFT

                   8. Losses

        None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
                   since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                  DESCRIPTION OF CIRCUMSTANCES AND, IF
     DESCRIPTION AND VALUE                                                        LOSS WAS COVERED IN WHOLE OR IN PART
         OF PROPERTY                                                                 BY INSURANCE, GIVE PARTICULARS                  DATE OF LOSS

                   9. Payments related to debt counseling or bankruptcy

        None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
                   concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
                   preceding the commencement of this case.

                                                                                 DATE OF PAYMENT,                             AMOUNT OF MONEY
     NAME AND ADDRESS                                                          NAME OF PAYER IF OTHER                     OR DESCRIPTION AND VALUE
        OF PAYEE                                                                   THAN DEBTOR                                  OF PROPERTY




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    B7 (Official Form 7) (04/13)
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                                                                            DATE OF PAYMENT,                                    AMOUNT OF MONEY
     NAME AND ADDRESS                                                    NAME OF PAYER IF OTHER                             OR DESCRIPTION AND VALUE
          OF PAYEE                                                             THAN DEBTOR                                         OF PROPERTY
     Williams & Williams, Inc.                                           04/20/2015                                        $500.00
     1300 18th St., Ste. B
     Bakersfield, CA 93301

                   10. Other transfers

        None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
                   transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
                   filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
                   spouses are separated and a joint petition is not filed.)

     NAME AND ADDRESS OF TRANSFEREE,                                                                 DESCRIBE PROPERTY TRANSFERRED
         RELATIONSHIP TO DEBTOR                                          DATE                               AND VALUE RECEIVED

        None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
                   trust or similar device of which the debtor is a beneficiary.

     NAME OF TRUST OR OTHER                                                                          AMOUNT OF MONEY OR DESCRIPTION AND
     DEVICE                                                              DATE(S) OF                  VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                         TRANSFER(S)                 IN PROPERTY

                   11. Closed financial accounts

        None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
                   otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
                   financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
                   cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
                   include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
                   unless the spouses are separated and a joint petition is not filed.)

                                                                           TYPE OF ACCOUNT, LAST FOUR
                                                                           DIGITS OF ACCOUNT NUMBER,                        AMOUNT AND DATE OF SALE
     NAME AND ADDRESS OF INSTITUTION                                      AND AMOUNT OF FINAL BALANCE                              OR CLOSING

                   12. Safe deposit boxes

        None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
                   immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
                   depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                   filed.)

                                                              NAMES AND ADDRESSES
     NAME AND ADDRESS OF BANK                                 OF THOSE WITH ACCESS                    DESCRIPTION                   DATE OF TRANSFER OR
      OR OTHER DEPOSITORY                                     TO BOX OR DEPOSITORY                    OF CONTENTS                    SURRENDER, IF ANY

                   13. Setoffs

        None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
                   commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
                   spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

     NAME AND ADDRESS OF CREDITOR                                        DATE OF SETOFF                                     AMOUNT OF SETOFF

                   14. Property held for another person

        None       List all property owned by another person that the debtor holds or controls.


     NAME AND ADDRESS OF OWNER                                DESCRIPTION AND VALUE OF PROPERTY                LOCATION OF PROPERTY


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    B7 (Official Form 7) (04/13)
    5
                   15. Prior address of debtor

        None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
                   occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
                   address of either spouse.

     ADDRESS                                                             NAME USED                                         DATES OF OCCUPANCY

                   16. Spouses and Former Spouses

        None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
                   Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
                   commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
                   the community property state.

     NAME

                   17. Environmental Information.

                   For the purpose of this question, the following definitions apply:

                   "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
                   or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
                   statutes or regulations regulating the cleanup of these substances, wastes, or material.

                   "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or
                   operated by the debtor, including, but not limited to, disposal sites.

                   "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                   pollutant, or contaminant or similar term under an Environmental Law

        None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
                   or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
                   the Environmental Law:

                                                              NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
     SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

        None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
                   Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                    DATE OF                      ENVIRONMENTAL
     SITE NAME AND ADDRESS                                    GOVERNMENTAL UNIT                      NOTICE                       LAW

        None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
                   the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
                   docket number.

     NAME AND ADDRESS OF
     GOVERNMENTAL UNIT                                                   DOCKET NUMBER                                     STATUS OR DISPOSITION




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                   18 . Nature, location and name of business

        None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                   ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
                   partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
                   immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
                   within six years immediately preceding the commencement of this case.

                   If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                   ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
                   years immediately preceding the commencement of this case.

                   If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
                   ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
                   years immediately preceding the commencement of this case.

                                       LAST FOUR DIGITS OF
                                       SOCIAL-SECURITY OR
                                       OTHER INDIVIDUAL
                                       TAXPAYER-I.D. NO.                                                                                   BEGINNING AND
     NAME                              (ITIN)/ COMPLETE EIN              ADDRESS                         NATURE OF BUSINESS                ENDING DATES

        None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


     NAME                                                                  ADDRESS

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


    I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
    and that they are true and correct.


     Date May 15, 2015                                                     Signature   /s/ Walker Clifton Murrell, III
                                                                                       Walker Clifton Murrell, III
                                                                                       Debtor


     Date May 15, 2015                                                     Signature   /s/ Alecia Marie Murrell
                                                                                       Alecia Marie Murrell
                                                                                       Joint Debtor

                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                  United States Bankruptcy Court
                                                                         Eastern District of California
                 Walker Clifton Murrell, III
     In re       Alecia Marie Murrell                                                                             Case No.      15-11527-A-13K
                                                                                      Debtor(s)                   Chapter       13

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                  4,000.00
                 Prior to the filing of this statement I have received                                        $                    100.00
                 Balance Due                                                                                  $                  3,900.00

    2.     The source of the compensation paid to me was:

                                       Debtor                                         Other (specify):

    3.     The source of compensation to be paid to me is:

                                       Debtor                                         Other (specify):

    4.              I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
                firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]


    6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                               CERTIFICATION

           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

     Dated:      May 15, 2015                                                         /s/ Robert S. Williams
                                                                                      Robert S. Williams 73172
                                                                                      Williams & Williams, Inc.
                                                                                      1300 18th St., Ste. B
                                                                                      Bakersfield, CA 93301
                                                                                      661-323-7933 Fax: 661-323-9855
                                                                                      wwlaw@pacbell.net




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    B 201A (Form 201A) (6/14)



                                                         UNITED STATES BANKRUPTCY COURT
                                                          EASTERN DISTRICT OF CALIFORNIA
                                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                      OF THE BANKRUPTCY CODE
              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
    briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
    bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
    may examine all information you supply in connection with a bankruptcy case.

             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
    attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

             Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
    you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
    your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
    the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
    from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
    receive a separate copy of all notices.

    1. Services Available from Credit Counseling Agencies
              With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
    relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
    provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
    briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
    provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
    clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
    joint case must complete the briefing.

              In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
    instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
    instructional courses. Each debtor in a joint case must complete the course.

    2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total Fee $335)
             Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
    debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
    proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
    the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
    dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
             Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
    possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
             The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
    committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
    purpose for which you filed the bankruptcy petition will be defeated.
             Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
    responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
    obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
    bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
    from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
    malicious injury, the bankruptcy court may determine that the debt is not discharged.

           Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
    $75 administrative fee: Total Fee $310)
                Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over


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    Form B 201A, Notice to Consumer Debtor(s)                                                                                         Page 2

    a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
    Code.
             Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
    your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
    income and other factors. The court must approve your plan before it can take effect.
             After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
    most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
    bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


                Chapter 11: Reorganization ($1,167 filing fee, $550 administrative fee: Total Fee $1,717)
            Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
    complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


                Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total Fee $275)
             Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
    and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
    family-owned farm or commercial fishing operation.

    3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
    orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
    debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
    States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

    WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
    assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
    filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
    documents and the deadlines for filing them are listed on Form B200, which is posted at
    http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.




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    B 201B (Form 201B) (12/09)
                                                      United States Bankruptcy Court
                                                            Eastern District of California
              Walker Clifton Murrell, III
     In re    Alecia Marie Murrell                                                                          Case No.     15-11527-A-13K
                                                                             Debtor(s)                      Chapter      13

                                 CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                     UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                Certification of Debtor
              I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
    Code.
     Walker Clifton Murrell, III
     Alecia Marie Murrell                                                      X /s/ Walker Clifton Murrell, III                  May 15, 2015
     Printed Name(s) of Debtor(s)                                                Signature of Debtor                              Date

     Case No. (if known) 15-11527-A-13K                                        X /s/ Alecia Marie Murrell                         May 15, 2015
                                                                                 Signature of Joint Debtor (if any)               Date




    Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

    Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
    Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
    notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
Filed 05/18/15                                                                 Case 15-11527                                                                      Doc 19


     Fill in this information to identify your case:                                                         Check as directed in lines 17 and 21:
                                                                                                               According to the calculations required by this
     Debtor 1            Walker Clifton Murrell, III                                                           Statement:

     Debtor 2          Alecia Marie Murrell                                                                          1. Disposable income is not determined under
     (Spouse, if filing)                                                                                                11 U.S.C. § 1325(b)(3).

                                                                                                                     2. Disposable income is determined under 11
     United States Bankruptcy Court for the:            Eastern District of California                                  U.S.C. § 1325(b)(3).


     Case number         15-11527-A-13K                                                                              3. The commitment period is 3 years.
     (if known)
                                                                                                                     4. The commitment period is 5 years.


                                                                                                                     Check if this is an amended filing

    Official Form 22C-1
    Chapter 13 Statement of Your Current Monthly Income
    and Calculation of Commitment Period                                                                                                                        12/14

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
    space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
    additional pages, write your name and case number (if known).

     Part 1:       Calculate Your Average Monthly Income

      1. What is your marital and filing status? Check one only.
                Not married. Fill out Column A, lines 2-11.
                 Married. Fill out both Columns A and B, lines 2-11.


        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
        case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
        of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
        income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only.
        If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
         all payroll deductions).                                                                        $      5,745.24      $             0.00
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                                          $            0.00    $             0.00
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                         0.00    $             0.00
      5. Net income from operating a business, profession, or farm
         Gross receipts (before all deductions)                $            185.83
           Ordinary and necessary operating expenses                     -$                0.00
           Net monthly income from a business,                                                    Copy
           profession, or farm                                           $               185.83 here -> $           185.83    $             0.00
      6. Net income from rental and other real property
         Gross receipts (before all deductions)                               $      0.00
           Ordinary and necessary operating expenses                          -$     0.00
           Net monthly income from rental or other real property              $      0.00 Copy here -> $              0.00    $             0.00




    Official Form 22C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                 page 1
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     Debtor 1     Walker Clifton Murrell, III
     Debtor 2     Alecia Marie Murrell                                                                      Case number (if known)   15-11527-A-13K

                                                                                                        Column A                     Column B
                                                                                                        Debtor 1                     Debtor 2 or
                                                                                                                                     non-filing spouse
                                                                                                        $                  0.00      $            0.00
      7. Interest, dividends, and royalties
      8. Unemployment compensation                                                                      $                  0.00      $             0.00
           Do not enter the amount if you contend that the amount received was a benefit
           under the Social Security Act. Instead, list it here:
             For you                                             $                 0.00
                For your spouse                                          $                 0.00
      9. Pension or retirement income. Do not include any amount received that was a
         benefit under the Social Security Act.                                                         $                  0.00      $             0.00
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total on line 10c.
                10a.                                                                                    $                  0.00      $             0.00
                10b.                                                                                    $                  0.00      $             0.00
                10c. Total amounts from separate pages, if any.                                       + $                  0.00      $             0.00

      11. Calculate your total average monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.              $       5,931.07           +$             0.00      =$      5,931.07

                                                                                                                                                        Total average
                                                                                                                                                        monthly income

     Part 2:        Determine How to Measure Your Deductions from Income


      12. Copy your total average monthly income from line 11.                                                                                     $       5,931.07
      13. Calculate the marital adjustment. Check one:

                  You are not married. Fill in 0 on line 3d.
                  You are married and your spouse is filing with you. Fill in 0 in line 13d.
                  You are married and your spouse is not filing with you.
                  Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
                  dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
                  In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
                  adjustments on a separate page.
                  If this adjustment does not apply, enter 0 on line 13d.
                  13a.                                                                            $
                  13b.                                                                            $
                  13c.                                                                         +$

                  13d. Total                                                                   $                   0.00         Copy here=> 13d.    -               0.00



      14. Your current monthly income. Subtract line 13d from line 12.                                                                      14.    $       5,931.07


      15. Calculate your current monthly income for the year. Follow these steps:
            15a. Copy line 14 here=>                                                                                                        15a. $         5,931.07

                       Multiply line 15a by 12 (the number of months in a year).                                                                        x 12

            15b. The result is your current monthly income for the year for this part of the form.                                          15b. $        71,172.84




    Official Form 22C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                       page 2
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     Debtor 1     Walker Clifton Murrell, III
     Debtor 2     Alecia Marie Murrell                                                               Case number (if known)   15-11527-A-13K


      16. Calculate the median family income that applies to you. Follow these steps:
           16a. Fill in the state in which you live.                        CA

           16b. Fill in the number of people in your household.              5
           16c. Fill in the median family income for your state and size of household.                                           16c.         $     87,518.00
                To find a list of applicable median income amounts, go online using the link specified in the separate
                instructions for this form. This list may also be available at the bankruptcy clerk's office.
      17. How do the lines compare?
           17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                          11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C-2).
           17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                          1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C-2). On line 39 of that form, copy your
                          current monthly income from line 14 above.
     Part 3:       Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

     18. Copy your total average monthly income from line 11 .                                                                   18. $                   5,931.07
     19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
         contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
         spouse's income, copy the amount from line 13d.
         If the marital adjustment does not apply, fill in 0 on line 19a.                                                        19a.-$                       0.00


           Subtract line 19a from line 18.                                                                                       19b.     $          5,931.07


     20. Calculate your current monthly income for the year. Follow these steps:
           20a. Copy line 19b                                                                                                    20a.         $      5,931.07

                  Multiply by 12 (the number of months in a year).                                                                                x 12

           20b. The result is your current monthly income for the year for this part of the form                                 20b.         $     71,172.84




           20c. Copy the median family income for your state and size of household from line 16c                                              $     87,518.00


           21. How do the lines compare?

                       Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                       period is 3 years. Go to Part 4.

                       Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                       commitment period is 5 years. Go to Part 4.

     Part 4:       Sign Below
           By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

        X /s/ Walker Clifton Murrell, III                                             X /s/ Alecia Marie Murrell
            Walker Clifton Murrell, III                                                  Alecia Marie Murrell
            Signature of Debtor 1                                                        Signature of Debtor 2
           Date May 15, 2015                                                             Date May 15, 2015
                MM / DD / YYYY                                                                MM / DD / YYYY
           If you checked 17a, do NOT fill out or file Form 22C-2.
           If you checked 17b, fill out Form 22C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



    Official Form 22C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                 page 3
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Filed 05/18/15                                                           Case 15-11527                                                                      Doc 19

     Debtor 1    Walker Clifton Murrell, III
     Debtor 2    Alecia Marie Murrell                                                              Case number (if known)   15-11527-A-13K


                                                       Current Monthly Income Details for the Debtor

    Debtor Income Details:
    Income for the Period 10/01/2014 to 03/31/2015.

    Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
    Source of Income: Energy
    Year-to-Date Income:
    Last Year:
    Starting Year-to-Date Income: $44,383.21 from check dated 9/30/2014 .
    Ending Year-to-Date Income: $63,612.22 from check dated 12/31/2014 .

    This Year:
    Current Year-to-Date Income: $15,242.43 from check dated                      3/31/2015    .

    Income for six-month period (Current+(Ending-Starting)): $34,471.44 .
    Average Monthly Income: $5,745.24 .



    Line 5 - Income from operation of a business, profession, or farm
    Source of Income: Northwest Tax Service
    Income/Expense/Net by Month:
                              Date                                       Income                          Expense                             Net
     6 Months Ago:                  10/2014                                         $0.00                               $0.00                         $0.00
     5 Months Ago:                  11/2014                                         $0.00                               $0.00                         $0.00
     4 Months Ago:                  12/2014                                         $0.00                               $0.00                         $0.00
     3 Months Ago:                  01/2015                                        $55.00                               $0.00                        $55.00
     2 Months Ago:                  02/2015                                       $485.00                               $0.00                       $485.00
     Last Month:                    03/2015                                       $575.00                               $0.00                       $575.00
                          Average per month:                                      $185.83                               $0.00
                                                                                              Average Monthly NET Income:                           $185.83




    Official Form 22C-1            Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                          page 4
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